Case 1:14-cr-00068-LGS Document 70-1 Filed 10/01/14 Page1of4

U.S. Department of Justice

United States Attorney
Southern District of New York

The Silvio J. Mollo Building
One Saint Andrew's Plaza
New York, New York 10007

March 2], 2014

By Hand & E-mail
Joshua L. Dratel, Esq.

2 Wall Street, 3rd Floor
New York, NY 10005

Re: United States v. Ross William Ulbricht, 14 Cr. 68 (KBF)
Second Discovery Production

Dear Mr. Dratel:

Pursuant to Rule 16(a) of the Federal Rules of Criminal Procedure, the Government is
hereby providing the following supplemental discovery materials specified below. Please note
that all of these materials have been marked “Confidential” and thus cannot be shared with
others outside the confines of the protective order entered in this matter.

The materials produced are as follows:

1. Three hard drives containing one set of the following materials:

Item# | Description

1 193.107.86.49: Contents of Silk Road marketplace server as imaged by
the Republic of Iceland pursuant to a letter of request in July 2013.
2 207.106.6.25: Contents of Silk Road backup server, as imaged in

September 2013 pursuant to a search warrant on Windstream Data Center

3 207.106.6.25 (rsync): Contents of same server associated with item #2, as
remotely imaged in September 2013 pursuant to a search warrant on the
server hosting provider, JTAN.com.

4 USB thumb drives: Contents of USB thumb drives belonging to the
defendant, seized from his residence on October 1, 2013.

Case 1:14-cr-00068-LGS Document 70-1 Filed 10/01/14 Page 2of4

207.106.6.25 (“ggb”): Contents of same Silk Road backup server
associated with items #2 and #3, as re-imaged pursuant to a search
warrant on Windstream Data Center in October 2013.

207.106.6.32 (“alsa”): Contents of secondary Silk Road backup server,
imaged pursuant to a search warrant on Windstream Data Center in
October 2013.

207.106.6.11 (“beggy”): Contents of server used by the defendant as a
private Tor bridge, imaged pursuant to a search warrant on Windstream
Data Center in October 2013.

Kindle: Contents of the defendant’s Kindle device, seized from his
residence on October 1, 2013 pursuant to a search warrant.

193.107.86.34 & 193.107.86.49: Contents of (a) Silk Road marketplace
server and (b) server on which Silk Road Bitcoin wallet was maintained,
as re-imaged and imaged (respectively) by the Republic of Iceland
pursuant to a letter of request in September 2013.

10

Laptop: Contents of the defendant’s laptop, seized upon his arrest
pursuant to a search warrant.

11

193.107.86.34: Contents of server on which Silk Road Bitcoin wallet was
maintained, as re-imaged by the Republic of Iceland pursuant to a letter
of request in October 2013.

12

193.107.86.49: Contents of Silk Road marketplace server, as re-imaged
by the Republic of Iceland pursuant to a letter of request in October 2013.

13

109.163.234.40 ~ Contents of server used to backup Silk Road Bitcoin
wailet, imaged pursuant to a search warrant in September 2013.

14

109.163.234.40 —- Contents of same server associated with item #13, as
re-Imaged pursuant to a search warrant in October 2013.

15

65.75.246.20 ~ Contents of server housing private key used to contro! the
Silk Road .onion address, as imaged by the Republic of France pursuant
to a Mutual Legal Assistance Treaty request in October 2013.

16

$2.221.104.28 — Contents of Silk Road discussion forum server, as
imaged by the Republic of Iceland pursuant to a letter of request in
November 2013

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Case 1:14-cr-00068-LGS Document 70-1 Filed 10/01/14 Page 3of4

2. One DVD-ROM containing the following materials!:

Item# | Description

] Spreadsheets containing the defendant’s posts and private messages from
the Silk Road discussion forum. This data is also included in the image
of the Silk Road discussion forum server included as item #16 on the
hard drives referenced above, but is provided separately here as a
courtesy.

2 Recorded statements of the defendant made in communications with an
undercover agent working with the U.S. Attomey’s Office for the District
of Maryland, using the Silk Road username “nob,” as well as (1) staged
photographs of a murder-for-hire referenced in these communications
and (ii) records of wire transfers sent by the defendant as payment for the
murder-for-hire

3 Investigative reports concerning undercover purchases of drugs and other
illicit goods and services from the Silk Road website, made by law
enforcement agents working with the U.S. Attorney’s Office for the
District of Maryland

4 Recorded statements of the defendant made in communications with an
undercover agent working with the U.S. Attorney’s Office for the
Western District of Washington, using the Silk Road usernames “nod”
and “‘missdaisy”

5 Subpoena returns received since the Government’s initial discovery
production, including (a) subscriber information from 1&1 Mail &
Media, Inc., concerning an e-mail account used by the defendant; and (b)
records for an American Express credit card account held by the
defendant

6 Records for a bank account held by the defendant at Westpac Bank,
obtained pursuant to a Mutual Legal Assistance Treaty request to
Australia

' The disc is password-protected with the password: “IncOnc31v4bL3.”

3
Case 1:14-cr-00068-LGS Document 70-1 Filed 10/01/14 Page4of4

Please let me know if you have any questions concerning the above materials. Other
additional materials may be produced in accordance with the Federal Rules of Criminal
Procedure on a timely basis as they become available.

Sincerely,

PREET BHARARA

Assistant United States Attorney

Enclosures

